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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

              v.                              Case No. 19-CR-10080-NMG

GREGORY COLBURN, et al.,

        Defendants.


     DEFENDANT I-HSIN “JOEY” CHEN’S WITNESS EXHIBIT LIST

      Defendant I-Hsin “Joey” Chen respectfully submits the following initial list

of potential witness for the January 2022 trial brought by the government against

himself and fellow defendants Gregory Colburn, and Amy Colburn. Defendant

reserves the right to supplement this list with reasonable notice to the government,

and to call additional rebuttal witnesses not identified here. Defendant also reserves

the right to call as a witness any witnesses listed by the government.

 Name                                         Entity/Location

 David Han                                    Orange County, California

 Yun Han                                      Orange County, California

 Dr. Anna Baumgartner                         Orange County, California

 Jacqueline Mannix                            Los Angeles, California

 Hui Hsu                                      Los Angeles, California

 Andrew Donner                                San Diego, California



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Belinda Donner                          San Diego, California

Charlie Donner                          San Diego, California

John Su                                 San Marino, California

Jameson Lee                             Alhambra, California

Chris Cowser                            Champaign, Illinois

Rick Cowser                             Champaign, Illinois

Teresa Cowser                           Champaign, Illinois

Dr. Thanh Le                            Long Beach, California

Dr. Charles Chang                       Boston, Massachusetts

Efren Lapuz                             San Diego, California

Dr. Anna Baumgartner                    Orange County, California

Special Agent Lauren Smith              FBI


Dated: November 19, 2021                  Respectfully submitted,

                                          /s/ Reuben Camper Cahn
                                          Reuben Camper Cahn (pro hac vice)
                                          KELLER/ANDERLE LLP
                                          18300 Von Karman Avenue, Suite 930
                                          Irvine, California 92612
                                          Tel. (949) 476-8700
                                          rcahn@kelleranderle.com

                                          Counsel for I-Hsin “Joey” Chen




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                          CERTIFICATE OF SERVICE
      In accordance with Local Rule 5.2(b), I, Reuben Camper Cahn, hereby certify
that on November 19, 2021 this document filed through the ECF system will be sent
electronically to the registered participants as identified in the Notice of Electronic
Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.
                                              /s/Reuben Camper Cahn
                                              Reuben Camper Cahn




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